     Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 1 of 16 PageID #:835




                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

KELVIN LETT,

        Plaintiff,                                   Case No. 18-cv-04993

v.                                                   The Honorable Judge
                                                     John Robert Blakey
CITY OF CHICAGO, et al.,
                                                     Magistrate Judge Jeffrey Cole

        Defendants.

                       PLAINTIFF’S RESPONSE IN OPPOSITION TO
                      DEFENDANT FAIRLEY’S MOTION TO DISMISS

        Plaintiff takes the high road to Defendant Fairley’s overheated rhetoric in her Motion to

Dismiss (“Motion”), and now addresses her arguments as to why the Second Amended

Complaint (“SAC”) should be dismissed. Her Motion should be denied.

I.      Lett Has Stated Constitutional Claims Against Fairley.

a.      Lett Has Stated A First Amendment Retaliation Claim In Count I.

        [T]he First Amendment protection of a public employee’s speech depends on a careful

balance ‘between the interests of the [employee], as a citizen, in commenting upon matters of

public concern and the interest of the State, as an employer, in promoting the efficiency of the

public services it performs through its employees.” Lane v. Franks, 134 S.Ct. 2369, 2374 (2014)

(quoting Pickering v. Bd. of Ed. Of Twnshp. High Sch. Dist. 205, 391 U.S. 563, 568 (1968)).

“Government employers, like private employers, need a significant degree of control over their

employees’ words and actions in order that employees ‘not contravene governmental policies or

impair the performance of governmental functions. . .” Garcetti v. Ceballos, 547 U.S. 410, 418-

19 (2006). However, although public employees must accept certain limitations on their

freedom when entering public service, they “do not check all of their First Amendment rights at
    Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 2 of 16 PageID #:836




the door.” Lewis v. Cohen, 165 F.3d 154, 158 (2d Cir. 1999). “A citizen who works for the

government is nonetheless a citizen,” and the “First Amendment limits the ability of a public

employer to leverage the employment relationship to restrict, incidentally or intentionally, the

liberties employees enjoy in their capacities a private citizens.” Perry v. Sinderman, 408 U.S.

593, 597 (1972). “There is certainly some difference between compelled speech and compelled

silence, but in the context of protected speech, the difference is without constitutional

significance, for the First Amendment guarantees ‘freedom of speech,’ a term necessarily

comprising the decision of both what to say and what not to say.” Riley v. Nat’l Fed’n of the

Blind of North Carolina, Inc., 487 U.S. 781, 796-97 (1988). In the public employment context,

“[s]o long as employees are speaking as citizens about matters of public concern, they must face

only those speech restrictions that are necessary for their employers to operate efficiently and

effectively.” Connick v. Myers, 461 U.S. 138, 147 (1983) (emphasis added).

       In her Motion, Fairley principally relies on Davis v. City of Chicago, 889 F.3d 842, 845

(7th Cir. 2018) as standing for the proposition that the Seventh Circuit held that Davis’ refusal to

change his reports was an action that fit squarely within his duties as a public employee, not as a

private citizen. Motion, p. 5. The problem with Fairley’s citation to Davis is that it ignores that

the case was about differing evaluations of facts, ignores Judge Hamilton’s concurring opinion,

and ignores that the SAC alleges that Lett was ordered to make falsehoods in his reports, not just

different evaluations of facts, which in no way qualifies as speech necessary for Lett’s employer

to operate efficiently and effectively.

       Davis concerned an IPRA investigator who alleged that he was ordered to “change

‘sustained’ findings of police misconduct.” Id., 889 F.3d at 842. The Seventh Circuit affirmed

the dismissal of Davis’ First Amendment retaliation claim on the ground that Davis’ speech was


                                                  2
    Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 3 of 16 PageID #:837




made pursuant to his official duties, and not as a citizen. Id. at 845. What is important, however,

is that Davis alleged that he was required to change the reports to “accept his boss’s different

evaluations of facts.” Id. at 846 (J. Hamilton concurring) (original emphasis). Judge Hamilton

recognized that such was an important distinction from a case where an officer is fired for

refusing to make false statements of fact. Id. (citing Jackler v. Byrne, 658 F.3d 225, 230-31 (2d

Cir. 2011)). Nothing in Davis indicates that he was asked to falsify facts in his reports, which is

what the SAC alleges in this case.

       Fairley accuses Lett of “pleading around” Davis, although Lett pleads that “FAIRLEY

ordered LETT to lie in his reports that a gun was planted on the victim by the officers involved

in the shooting, but LETT protested and refused to do so because he had no evidence to support

that finding.” SAC, ¶34; see also SAC, ¶¶35-40. Lett has plead a First Amendment cause of

action under Davis, in particular under the majority’s reasoning and Judge Hamilton’s

concurring opinion. The cases cited by Judge Hamilton also support Lett’s claim. In Jackler, the

Second Circuit explained that a police department’s discretion as an employer “does not include

authority to coerce or intimidate its employees to engage in criminal conduct or intimidate its

employees to engage in criminal conduct by filing reports that are false in order to conceal

wrongdoing by another employee or to conceal eyewitness corroboration of civilian complaints

of such wrongdoing.” Jackler v. Byrne, 658 F.3d 225, 242 (2d Cir. 2011). The Jackler court

reversed dismissal of a First Amendment claim by a police officer on exactly the basis that

Garcetti and its progeny “do not preclude First Amendment protection for a [government

employee’s] refusals to make false statements.” Id. at 229-31. The Jackler plaintiff refused to

report falsely about a matter of serious public concern, and such a refusal, he alleged, involved

his First Amendment right as a private citizen to decline defendants’ invitation to falsify his


                                                 3
    Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 4 of 16 PageID #:838




official report. Id. at 232. The reluctant reasoning of the district court highlights the irony in

Fairley’s position here:

“Jackler’s refusal to alter his report was done in his capacity as a police officer, and that refusal
only occurred because he was an officer. Ironically, it is because he was a public employee with
a duty to tell the truth that his insistence on fulfilling that duty is unprotected.”

       Id. at 233. The point Fairley intends to make is that Lett was acting as a government

employee in his refusals, and, therefore, in no way can state a First Amendment claim. Motion,

p. 5-6. But “activities required of the employee as part of his employment duties are not

performed as a citizen if they are not the kind of activity engaged in by citizens who do not work

for the government.” Garcetti, 547 U.S. 410, 423 (internal quotations omitted). “The matter of

whether the government employee’s duties do or do not have a civilian analogue is a question of

law.” Weintraub v. Bd. of Educ., 595 F.3d 196 (2d Cir. 2010). Jackler, 658 F.3d 225 at 242.

The Jackler court found that “[i]n the context of the demands that Jackler retract his truthful

statements and make statements that were false, we conclude that his refusals to accede to those

demands constituted speech activity. . .” Id. at 241. This case is on all fours because Lett alleges

that (1) Fairley ordered him to alter his reports so as to include a false statement that a gun was

planted on a victim of an officer-involved shooting (SAC, ¶¶32 – 34); and, (2) Lett refused to

alter his reports to include false statements of fact (SAC, ¶¶36, 42). Accordingly, Lett alleges

protected speech activity under the First Amendment that has a civilian speech analogue and that

was on a matter of public concern.

       Fairley might respond that Jackler is a Second Circuit case. But, as noted in Davis, the

Seventh Circuit held pre-Garcetti that the First Amendment protects police investigators in

exposing a police cover-up to the public where the officer was ordered to rewrite reports to

prevent such disclosure. Davis, 889 F.3d 842, 845-46 (J. Hamilton concurring) (citing Gonzalez


                                                  4
    Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 5 of 16 PageID #:839




v. City of Chicago, 239 F.3d 939, 941 (7th Cir. 2001)). Davis itself, as noted, involved a

disagreement about the evaluation of facts, not allegations that Davis was asked to lie in his

reports, as is alleged by Lett here. Such a disagreement did raise the concerns present in Jackler

discussed above, and does not avoid the reasoning in Lane v. Franks that “[w]hen the person

testifying is a public employee, he may bear separate obligations to his employer. . .[b]ut any

such obligations as an employee are distinct and independent from the obligation, as a citizen, to

speak the truth. That independent obligation renders sworn testimony speech as a citizen and sets

it apart from speech made purely in the capacity of an employee.” Lane, 134 S.Ct. 2369 at 2379.

Lane held that the “critical question under Garcetti is whether the speech at issue is itself

ordinarily within the scope of an employee’s duties, not whether it merely concerns those

duties.” Id. In this case, there is nothing plead in the Complaint that states it was part of Lett’s

ordinary job responsibilities to refuse to place falsehoods in his investigative reports; indeed, the

SAC alleges that Fairley asked Lett to place false statements in reports, he refused to, and Fairley

subjected him to a bevy of adverse actions including termination and then placement on

administrative leave when he prevailed at the arbitration. SAC, ¶¶32-62 (refusals), 41-43

(adverse actions), 54 (termination), 60 (administrative leave). There is nothing “ordinarily

within the scope” of Lett’s “job responsibilities” about the extraordinary circumstances of his

refusing to place false statements in his reports at Fairley’s behest. So too, Lett has no evident

“personal interest” in refusing to lie in the reports that would minimize his conduct into mere

speech over a personal grievance over employment conditions; indeed, the lack of any divinable

personal interest in Lett’s refusals are another reason they constitute speech as a private citizen.

       Adopting a rule in this district that holds that Lett does not have First Amendment

protection from retaliation for refusing to lie about facts in a police investigation would put


                                                  5
     Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 6 of 16 PageID #:840




police investigators in an analogous position to Lane by placing them “in an impossible position,

torn between the obligation to testify truthfully and the desire to avoid retaliation and keep their

jobs.” Id. If Lett cannot state a First Amendment retaliation claim, as Fairley urges,

Investigators will be in that “impossible position” when faced with requests to place falsehoods

in their reports as alleged in the SAC. Accordingly, Davis, particularly the concurring opinion of

Judge Hamilton, Lane, and Jackler, all support Lett’s First Amendment retaliation claim in this

case.

        Fairley also claims that the SAC should be dismissed because Lett has relied on mere

legal conclusions about conspiracy and “private citizen” in support of his First Amendment

retaliation claim in Count I. Motion, p. 5-6. Not so. See SAC, e.g., ¶¶48-55 (detailing conspiracy

agreements between the individual Defendants and acts in furtherance); ¶46 (“Lett had rights as a

private citizen, as a City employee, and as law enforcement to refuse to falsify evidence. . .”);

¶45 (“providing false information in his investigative reports was not a part of LETT’s ordinary

job responsibilities.”); ¶36 (“Lett consistently refused to take the aforesaid action, that is, lying

on his investigative report, believing it would violate state and federal law. . .and City policy for

him to do so.”); ¶78 (“Lett had a strong First Amendment protected interest in refusing to make

an investigative report that was dishonest and contained lies, as FAIRLEY wanted him to do.”).

Lett incorporates by reference his responses to the other individual Defendants’ Motions as

further reasons to deny Fairley’s Motion.

b.      Lett Has Stated A Monell Claim Against Fairley As The Agency Head.

        Because this case presents a unique issue of whether IPRA, COPA, and Fairley as the

agency head, are independently suable entities, they are all named in the Monell count. Plaintiff




                                                   6
     Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 7 of 16 PageID #:841




will concede that if such entities are found not to be suable independently from the City, then the

Monell claim against Fairley as agency head should be dismissed as to her.

c.      Lett States A Deprivation Of Property Without Due Process Claim In Count III.

        Fairley claims that Lett has no protected property interest alleged in the SAC, that, if he

did, he received all process that was due or did not avail himself of administrative remedies, and

that he has not alleged Fairley was involved in any deprivation involving his current

circumstances. Motion, p. 8. Contrary to Fairley’s claim, though, the SAC does allege that she

had personal involvement in deprivation of his current employment status. SAC, ¶¶102-105 (all

stating that Fairley placed him on ALWP, did not provide him process before so doing, caused

his decrease in pay and loss of active work status, and caused the 14th Amendment deprivation).

As to her other arguments, Lett adopts his positions in his response to the other individual

Defendants and submits Fairley’s Motion should be denied, as well as for the following

additional reasons.

        In the employment context, “a property interest can be created in one of two ways: (a) by

an independent source such as state law securing certain benefits or (b) a clearly implied promise

of continued employment. Adams v. Bd. of Educ. Harvey Sch. Dist. 152, Case No. 15-cv-8144,

¶10 (N.D. Ill. 2018). Lett does allege a property interest in his position as Investigator, and that

he was deprived of that interest and level of pay at that position. SAC, ¶102 (“FAIRLEY. .

.immediately deprived Plaintiff of his position and entitled level of pay by placing him on

administrative leave following the arbitrator’s ruling.”). The SAC cites sources of that protected

property interest: the CBA (¶98), City ordinance (¶99), and implied promise of continued

employment when he completed his probationary period and because he was subject to

progressive discipline (¶100). See, e.g., Misek v. Chicago, 783 F.2d 98 (7th Cir. 1986) (for cause


                                                  7
     Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 8 of 16 PageID #:842




provision of Illinois Municipal Code and Chicago Municipal Ordinance established a property

interest); Auriemma v. City of Chicago, 601 F.Supp. 1080 (N.D. Ill. 1984) (custom established

that members of CPD have a protected property interest in their jobs). The arbitration award

established that Lett has a protected property interest as Investigator, as do the City’s Personnel

Rules. SAC, Ex. 1, p.3. The arbitration award also established that Lett was to be reinstated as

Investigator, not placed on administrative leave, not transferred, not removed, but reinstated.

SAC, Ex. 1, p.22. The Award itself created a protected property interest in this case. But the

SAC alleges that “reinstatement” was done on an illusory basis, because Fairley turned around

and immediately removed Lett from his position again. SAC, ¶102. Even “[a] paid suspension

can give rise to a procedural due process claim if the suspension imposes a ‘substantial indirect

economic effect’ on the employee.” Battle v. Alderden, Case No. 14-cv-1785 (N.D. Ill. 2015)

(citing Palka v. Shelton, 623 F.3d 447, 452-53 (7th Cir. 2010)). The SAC alleges loss of pay

resulting from Fairley’s adverse actions, which is enough to trigger due process. SAC, ¶¶102-

103. To the extent that Defendant alleges facts outside the SAC about other administrative

remedies, that is a matter for discovery, not a Rule 12(b)(6).

d.      Lett Sufficiently States A First Amendment Retaliation Claim In Count IV.

        Fairley claims Count IV states no First Amendment claim because free association only

applies to matters of public concern, not personal grievances, and the paid leave is materially

insufficient. Motion, p.9. This district does not necessarily follow the public concern test in the

context of association claims. See Berry v. Ill. Dep’t of Human Servs., No. 00 cv-5538 at *12

(N.D. Ill. Oct. 29, 2003). Importantly, Lett’s grievance does involve a matter of contemporary

public concern, police discipline and termination, which is shown by the Press Release about

COPA attached to the individual Defendants’ Motions.


                                                 8
     Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 9 of 16 PageID #:843




e.      Fairley Is Not Entitled To Qualified Immunity.

        Fairley argues that she is entitled to qualified immunity because Lett has not alleged a

“clearly established” right against Fairley, citing the Davis case. Motion, p. 10. But as noted,

Davis involved a disagreement between an employee and his supervisor about evaluations of

facts in a report and whether they should lead to a different outcome for the police officer under

investigation. This case is in line with Judge Hamilton’s concurring opinion and the cases

therein, discussed above, that refusing to lie or alter the facts in report is conduct that would be

entitled to First Amendment protection. Fairley’s apparent argument that she was uncertain

whether or not refusing to lie in an investigative report was wrong is spurious. Even supposing

she replies that there is a distinction between knowing something is wrong and knowing

something is constitutionally-protected, her claim is dubious in light of Spalding v. City of

Chicago, 24 F. Supp. 3d 765, 781 (N.D. Ill. 2014) where this district rejected qualified immunity

for a First Amendment retaliation claim. Spalding reasoned that it was clearly-established that

the First Amendment prohibited transfers of public employees to less desirable positions because

of their involvement in uncovering government misconduct. Id. (citing Spiegla v. Hull, 371 F.3d

928, 936 (7th Cir. 2004) and Hobgood v. Ill. Gaming Bd., 731 F.3d 635, 648 (7th Cir. 2013)).

The foregoing cases make clear that adverse actions such as investigating, suspending, and

terminating employees engaged in uncovering corruption are not entitled to qualified immunity.

        Kristofek v. Village of Orland Hills, 832 F.3d 785, 798 (7th Cir. 2016) also made clear

that “‘general statements of the law are not inherently incapable of giving fair and clear warning,

and in [certain] instances a general constitutional rule already identified in the decisional law

may apply with obvious clarity to the specific conduct in question.’” Kristofek, 832 F.3d, 785 at

798 (quoting Hope v. Pelzer, 536 U.S. 730, 741 (2002)); see also Lynch v. Ackley, 811 F.3d 569,


                                                  9
      Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 10 of 16 PageID #:844




578-79 (2d Cir. 2016) (“‘clearly established law’ is satisfied if the law on subject was defined at

the time with reasonable clarity or clearly foreshadowed in rulings of the Supreme Court or the

Second Circuit. . .” (emphasis added)). In this case, Lane v. Franks clearly established that the

First Amendment protects public employees providing truthful testimony, compelled by

subpoena, outside the course of ordinary job responsibilities. 134 S. Ct. 2369, 2374-75 (2014).

Spalding, Spiegla, and Hobgood all establish in this district that the First Amendment protects

against retaliation of public employees who report wrongdoing or corruption to colleagues, their

superiors, or to law enforcement. Kristofek, 832 F.3d 795 at 798-799. So too, this Circuit

recognizes that “[t]erminating a government employee for speaking out against corruption in her

workplace is surely contrary to clearly mandated public policy (the intersection of the First

Amendment and the public’s right not to be defrauded by its government)…”). Valentino v. Vill.

of S. Chi. Heights, 575 F.3d 664, 678 (7th Cir. 2009). With this legal backdrop, Fairley is not

entitled to claim qualified immunity from Lett’s constitutional claims.

II.      Lett Has Stated An IWA Claim Against Fairley.

         Fairley states the IWA should be dismissed because (1) Lett has not alleged a Section 20

IWA claim because “altering a finding on an IPRA report is not illegal”; (2) the IWA only

provides a cause of action against a plaintiff’s employer, not the employer’s individual agents;

(3) the one-year SOL applies to Lett’s claims as to his termination; (4) the other adverse actions

are materially insufficient; and, (5) Lett has not plead a causal nexus between his protected

refusals and his placement on administrative leave. (Motion, p. 12). Fairley piggybacks off the

City’s Motions, and, to the extent she does, Lett adopts his arguments in his Responses to same.

The Court should deny the Motion as to the IWA claim against Fairley.




                                                10
    Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 11 of 16 PageID #:845




        First, Fairley asserts that altering a finding on an IPRA report is not illegal, which is an

astonishing position to take, but also ignores the context of the SAC, which alleges

circumstances that Fairley asked Lett to put falsehoods into his reports, including that

“FAIRLEY ordered LETT to lie in his reports that a gun was planted on the victim by the

officers involved in the shooting, but LETT protested and refused to do so because he had no

evidence to support that finding.” SAC, ¶34. Indeed, Chicago Police Department Officers are

being prosecuted as this Response is written for official misconduct for, inter alia, falsifying

reports in the Van Dyke case.1 In this case, Lett refused to put false information in his reports,

and putting same would have been at least obstruction of justice and/or official misconduct.

        Second, at least four Judges in this district interpret the IWA as providing for individual

liability, with Judge Harry Leinenweber ruling so as recently as October 24, 2018. In Bello v.

Village of Skokie, 151 F. Supp. 3d 849, 865 (N.D. Ill. 2015) (“Bello”), Judge Kennelly held that:

“The IWA includes in its definition of employer ‘any person acting ... on behalf of [an entity] in
dealing with its employees.’ 740 ILCS 174/5. In this way, the statute makes it clear that
individuals acting on behalf of an entity that one might colloquially understand to be a person's
`employer' may likewise be considered `employers’ potentially liable for violating the statute."

        Bello, 151 F.Supp.3d at 865. (internal quotations omitted). In Logan v. City of Chicago,

Judge Leinenweber followed Judge Kennelly’s reasoning, as well as that of Judge Lee in Van

Pelt v. Bona-Dent, Inc., Case No. 17-cv-1128, *9 (N.D. Ill. May 16, 2018), in finding that

individuals may be liable under the IWA. See Logan v. City of Chicago, Case No. 17-cv-8312,

*14-15 (October 24, 2018). Judge Leinenweber agreed with Judge Lee that “[t]he unambiguous

and plain language of the IWA includes [the individual Defendant] because he is alleged to have

been acting on behalf of the corporation and within the scope of his authority. . .” See also


1Judicial notice requested. See http://www.chicagotribune.com/news/local/breaking/ct-met-laquan-mcdonald-
conspiracy-case-court-20181004-story.html (accessed November 15, 2018); Cause of Action v. Chicago Transit
Auth., 815 F.3d 267, 277 n.13 (7th Cir.) (judicial notice appropriate for matters of public record).
                                                     11
   Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 12 of 16 PageID #:846




McGowan v. Motel Sleepers, Inc., Case No. 17-cv-7284, ¶34 (N.D. Ill. August 21, 2018) (Judge

Kendall denying dismissal of IWA claim against an individual). Accordingly, the weight of

recent authority in this district is that there is individual liability under the IWA.

        Third, the one-year statute of limitations does not apply here because the continuing

violation rule applies. The Illinois Supreme Court is clear that the doctrine “does not involve

tolling the statute of limitations because of delayed or continuing injuries, but instead involves

viewing the defendant’s conduct as a continuous whole for prescriptive purposes.” Feltmeier v.

Feltmeier, 207 Ill.2d 263, 279 (2003). “A continuing violation or tort is occasioned by

continuing unlawful acts and conduct, not continual ill effects from an initial violation.” Id.

“Thus, where there is a single overt act from which subsequent damages may flow, the statute

begins to run on the date the defendant invaded the plaintiff’s interest and inflicted injury, and

this is so despite the continuing nature of the injury.” In this case, Lett’s protected refusals

caused Fairley to keep taking retaliatory actions against Lett, again and again. SAC, ¶71. While

Lett includes the investigation and his termination in the SAC, he does so – and may do so –

because Fairley kept taking retaliatory actions against him after those ones. The retaliatory acts

in this case, viewed as a whole in the SAC, have never stopped. Spalding v. City of Chicago,

186 F. Supp. 884, 919 (N.D. Ill 2016) held that the continuing violation doctrine applied to an

IWA claim strikingly similar to that in this case, reasoning that where the “tort involves

continuous or repeated injurious behavior, by the same actor and of a similar nature” all of the

conduct against the same actor, whether in or out of the one-year period, was actionable under

the IWA. Id. Here, the allegations all involve continuous and repeated behavior by Fairley, and

it is all similarly actionable under the continuing violation doctrine expressed in Spalding.




                                                  12
   Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 13 of 16 PageID #:847




       Fourth, the twelve adverse actions Lett alleges are (1) individually sufficiently material to

support an IWA claim; and, (2) collectively sufficiently material to support an IWA claim. The

IWA was amended in 2009 to expand the scope of conduct that could give rise to a cause of

action for an employee under the Act. See Elue v. City of Chicago, Case No. 16-cv-09564, *10

(N.D. Ill. June 20, 2017). “The Court applies ‘an objective test to determine whether an action is

materially adverse,’ but whether it meets that standard ‘depends on the context and

circumstances of the particular case.’” Zinn v. Village of Sauk Village, Case No. 16-cv-3542 (J.

Blakey, March 1, 2017). “[R]etaliation, short of termination, under the IWA is defined as an ‘act

or omission [that] would be materially adverse to a reasonable employee.’” Elue, 16-cv-09564,

*10 (quoting LaRiviere v. Bd. of Trs. of S. Ill. Univ., 2015 IL App. (5th) 140443-U, ¶23). “A

materially adverse employment action is ‘one that significantly alters the terms and conditions of

the employee’s job.’” Id. (quoting Owens v. Dep’t of Human Rights, 403 Ill.App.3d 899, 919

(1st Dist. 2010)). Collectively, “[r]etaliatory harassment can rise to the level of a materially

adverse employment action (and coworker campaigns of harassment should be viewed in their

totality),” “but such acts of harassment must cause a significant change in the plaintiff’s

employment status.” Stutler v. Ill. Dep’t of Corr., 263 F.3d 698, 703 (7th Cir. 2001). This

district and Illinois courts are clear that “[a]n effective demotion or substantial change in

employment responsibilities can be a materially adverse employment action.” Elue at *13 (citing

Owens, 403 Ill.App.3d 899 at 919). Collective campaigns can be actionable as much as

individual actions. Stutler, 263 F.3d at 703. See also Spalding, 186 F.Supp.3d 884 at 918

(finding that collective evidence of threats, dead-end assignments, shift transfer, and a trumped-

up investigation, all without loss of pay, was materially adverse for IWA purposes). Here, Lett

alleges 12 adverse actions that, individually and collectively, constitute actionable bases for his


                                                 13
   Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 14 of 16 PageID #:848




IWA claim. SAC, ¶71 (itemizing twelve adverse actions, including termination, transfers,

removal of job responsibilities, refusal to instate to COPA, and loss in pay). Fairley seems to say

that the fact that she and the other Defendants failed in their effort to terminate Lett, then did

everything possible to destroy him short of termination, including putting him in his current

employment twilight zone, is not adverse and not actionable under the IWA. No reasonable

employee could look at Lett’s circumstances and conclude that his situation means that he would

be safe in his own whistleblowing activity given that Lett has suffered (1) a loss of pay, (2)

status, (3) all Investigator job responsibilities, (4) removal from IPRA/COPA, (5) non-

reinstatement to IPRA/COPA, (6) administrative leave with pay, (7) refusal to permit Lett to

work at all, and (8) major reputational, emotional distress, and stigma damage. Individually,

these actions constitute significant alterations in the terms and conditions of Lett’s employment.

Fairley baldly asserts that the adverse actions are not materially adverse, citing no cases

explaining why. To the contrary, the cases establish that these actions are materially adverse.

       Finally, the SAC states a causal nexus between Lett’s refusals and the adverse actions.

SAC, ¶82, 123 (direct and proximate cause), ¶¶93-94 (moving force for Monell); ¶¶110-112

(adverse actions linked to deprivations). It is patently obvious that the Complaint is alleging that

Lett’s refusals to play foul ball, as Fairley wanted him to do, led to all of the subsequent adverse

actions. This is in the SAC, where it states, “[w]ithin just two weeks of LETT’s persistent

refusal to lie in his investigative findings at FAIRLEY’s orders, FAIRLEY removed LETT from

General Investigations, and later ordered him transferred to the intake complaint section, and

then to janitorial duties.” SAC, ¶42. The SAC then states that “[s]uch transfer, and all other

adverse actions in this [SAC], were in retaliation for LETT’s refusal to lie about matters of fact

in the investigative report.” SAC, ¶43.


                                                  14
   Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 15 of 16 PageID #:849




       Fairley is also saying that because she committed other adverse actions against Lett after

his transfer and termination, that such interrupts the causal nexus between the refusals and the

adverse actions. Not only is such a matter to be determined through discovery, not on a 12(b)(6),

it ignores the reality of how retaliation and harassment work, and, if true, it would encourage

retaliators and harassers to keep committing adverse actions because it would then eliminate

causal connections between protected conduct and prior adverse actions. The causal connection

between the adverse actions and the protected refusals are properly well-pleaded in the SAC, and

the Motion should be denied.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff requests that this Court deny Fairley’s Motion.



Respectfully submitted,

/s Cass T. Casper
______________________________________
Cass T. Casper
One of Plaintiff’s Attorneys
Electronically filed: November 20, 2018

Cass T. Casper, Esq.
IL Attorney Registration Number 6303022
TALON LAW, LLC
79 West Monroe Street, Suite 1213
Chicago, Illinois 60603
P: (312) 351-2478 F: (312) 276-4930 E: ctc@talonlaw.com

Christopher Cooper, Esq.
Law Offices of Christopher Cooper, Inc.
79 West Monroe Street, Suite 1213
Chicago, Illinois 60603
P: (312) 473-2968 E: cooperlaw3234@gmail.com




                                                15
   Case: 1:18-cv-04993 Document #: 56 Filed: 11/20/18 Page 16 of 16 PageID #:850




                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that the attached Plaintiff’s Response to

Defendant Fairley’s Motion to Dismiss was served on the below-designated attorneys by electronic

service via the Court’s ECF System on November 20, 2018, and that the listed attorneys are all

registered e-filers.

Joann Lim, Esq.               joann.lim@cityofchicago.org
Susan O’Keefe, Esq.           susan.okeefe@cityofchicago.org
Mark Bereyso, Esq.            mark.bereyso@cityofchicago.org
Lisa Noller, Esq.             lnoller@foley.com
Hayley Altabef, Esq.          haltabef@foley.com
Robert Seltzer, Esq.          rseltzer@cornfieldfeldman.com
Elisa Redish, Esq.            eredish@cornfieldfeldman.com


                                                    s/Cass T. Casper
                                                    ______________________________
                                                    Cass T. Casper




                                               16
